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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

HYPERQUERY, LLC,
    Plaintiff,                                         Civil Action No. 6:23-cv-00210-DAE

v.

ZTE CORPORATION,                                       JURY TRIAL DEMANDED
     Defendant



                    AMENDED NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Federal Rule 41 (a)(1)(A)(i), the Plaintiff, HyperQuery, LLC, files this notice

of voluntary dismissal of this action for all of Plaintiff’s claims, or claims that Plaintiff could have

raised, as Defendant has not answered or filed a motion for summary judgment. The dismissal of

Plaintiff’s claims shall be WITH PREJUDICE as to the asserted patents. Each party shall bear its

own costs, expenses and attorneys’ fees.

 Dated: October 13, 2023

                                                        Respectfully submitted,

                                                        /s/ William P. Ramey, III
                                                        William P. Ramey, III
                                                        Texas Bar No. 24027643
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                                                        Attorneys for HyperQuery, LLC




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that October 13, 2023, the foregoing document was

served on all counsel of record who have consented to electronic service via the Court’s CM/ECF

system.


                                                  /s/ William P. Ramey, III
                                                  William P. Ramey, III




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